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                                                                                                                                 FILED
GAS 245B          (Rev. 09/11) Judgment in a Criminal Case                                                                U.S.DISTRICT COURT
DC Custody TSR    Sheet 1                                                                                                     AUGUSTA DIV.

                                          United States District Court                                                                 ph3:07
                                                      SOUTHERN DISTRICT OF GEORGIA
                                                                                                                     CLERK.
                                                           AUGUSTA DIVISION
                                                                                                                           scrroiST. OF GA.
              UNITED STATES OF AMERICA                                                JUDGMENT IN A CRIMINAL CASE
                                   V.

                      Willie William Smith.
                    aka"GD" and "Gansta"                                              Case Number:            l:15CR00063-2

                                                                                      USM Number:             19378-021

                                                                                      Richard T. Pacheco II
                                                                                      Defendant's Attorney
THE DEFENDANT:

Kl pleaded guilty to Count         1
□ pleaded nolo contendere to Count(s)                          which was accepted by the court.
□ was found guilty on Count(s)                          after a plea of not guilty.

The defendant is adjudicated guilty of this offense:

Title & Section                   Nature of Offense                                                                 Offense Ended         Count

18 U.S.C. § 2113(a)               Armed bank robbery                                                                January 9, 2015
and 2113(d)



       The defendant is sentenced as provided in pages 2 through             6    of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on Count(s)
Kl Counts 2 and 3 are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                             January 25. 2X116
                                                                              Date of Imposit»nybf Judgment




                                                                             Signature of Judge




                                                                             Dudley H. Bowen, Jr.
                                                                             United States District Judge
                                                                             Name and       of Judge


                                                                                                         ^7
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